 

Case 8:10-cv-02279-AW Document 6-2 Filed 08/19/10 Page 1 of 1
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MLM :: Request To Issue

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Request-to-Issue
Qi.iotations valid up to two weeks after the effective date.

Coverage is not Bound Untii Appropriate Premium Payment
is Remi’rteci along With this signed form

Quote#lSSOS-S

Applicant‘s Name: Jonathan S. Shurberg, P.C
_ t Polxc,y Effective Date: -- 7/'15/2808~ ~ ' _~ _"
Limits of Liabliity Requested: 1,000,000 / 3,000,000

Per Ciaim / Aggregate

Deductibie Requested: $5,000
Total' $2,693

Pi'emium Payrnent Pian :S;Zz §§ 7£¢

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{ Full Payment $2,693 FullPayment

{_"‘ Thr'ee Payment $947 113 of total premium and a one time
(3 consecutive monthly lnstaiiments) $59‘00 Sel'V’C€ fee (’I`IC‘UG'=’C‘)-

i‘ - Nine Payment * $404 15% of total premium

{__Eleven Payment * , $229 8.5% of total premium

_ By accepting this quo_tatlon, the undersigned certifies that there have been no sigancant changes in practice or any information
contained in the previously submitted application(s) The undersigned further certifies that the undersigned is not aware of any ` `
claims or circumstances that could result in claims or disciplinary actions that have not been reported to Mirinesota Lawyers Mutual .
If this is not the case, the undersigned will provide immediate written notification to Minnesota i_awyers Mutual before accepting the

quotation

Piease make check payable and Mall to
M|nnesota Lawyers Mutuai

333 S. 7th St,
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VSignature of Managing Pai“mei[, Title Date

Minnesota Lawyers Mutuai Insurance Company
333 S. 7th St, Suite 2200; Minneapolis, MN 55402

Request to Issue (01-02) l
1-800»422-1370 phone 1-800~305-1510 fax

httos://enet§.mimins.com/OLA/Secure/Appiications/RTI.aspx 7/22/2008

 

